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11
12                                        UNITED STATES DISTRICT COURT

13                                   CENTRAL DISTRICT OF CALIFORNIA
14
15   IN RE: NATIONAL FOOTBALL                         Case No. 2:15-ml-02668-PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION                             MEMORANDUM IN SUPPORT OF
17   ______________________________                   THE NFL DEFENDANTS’
                                                      MOTION TO EXCLUDE THE
18                                                    OPINIONS OF J. DOUGLAS ZONA
     THIS DOCUMENT RELATES TO
19   ALL ACTIONS                                      Judge: Hon. Philip S. Gutierrez
20
                                                      Date: January 13, 2023
21                                                    Time: 1:30 p.m.
                                                      Courtroom:
22
                                                          First Street Courthouse
23                                                        350 West 1st Street
                                                          Courtroom 6A
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                                                          Los Angeles, CA 90012
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 1                                     PRELIMINARY STATEMENT
 2           Plaintiffs’ central claim is that they paid too much for Sunday Ticket because
 3   it was the only way to access out of market NFL games. In order to obtain
 4   certification of their proposed classes, they need to put forth a model capable of
 5   demonstrating that injury class-wide with common proof. Plaintiffs have presented
 6   economic models from Dr. J. Douglas Zona to try to meet this requirement. At the
 7   most basic level, Dr. Zona used some of the data and documents in this case, as well
 8   as statistical software, to simulate alternate realities where Sunday Ticket is more
 9   broadly available. His models then simulate prices for Sunday Ticket in these
10   hypothetical worlds. Dr. Zona’s models purport to show that Sunday Ticket would
11   have been cheaper for every class member absent the agreements being challenged.
12   These types of economic models are essential in antitrust class actions because they
13   are the only way to establish proof of injury to each class member without evaluating
14   each class member individually. See, e.g., In re Rail Freight Fuel Surcharge
15   Antitrust Litig., 725 F.3d 244, 253 (D.C. Cir. 2013) (“No damages model, no
16   predominance, no class certification.”).
17           Dr. Zona’s models are unreliable and thus inadmissible. The expert report of
18   Dr. Ali Yurukoglu explains in detail the many flaws with Dr. Zona’s approach. See
19   Kilaru Decl. Ex. 1 (Expert Report of Ali Yurukoglu) (“Yurukoglu Report”). Here,
20   we address the central flaws that require exclusion under Rule 702.
21           First, Dr. Zona’s primary model yields results that “make[] no sense.”
22   Laumann v. Nat’l Hockey League, 117 F. Supp. 3d 299, 318 (S.D.N.Y. 2015). That
23   model simulates lower prices for Sunday Ticket in a hypothetical world where it is
24   distributed on other platforms besides DirecTV. Dr. Zona’s price simulations are
25   based on his model’s predictions of what consumers want. And Dr. Zona’s model
26   suggests that consumers would prefer to pay more to get less. It predicts that fans
27   would prefer to pay for a package of their favorite club’s games rather than get those
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 1   same games, and several more, for free. Those results are “so far removed from
 2   actual viewer preferences and tastes” as to require exclusion. Id.
 3           In addition to these nonsensical results, the model is riddled with elementary
 4   mistakes. As Dr. Yurukoglu explains,
 5                                  described further below. The critical point for this motion is
 6   that the error is universally acknowledged as a mistake in Economics and Statistics
 7   101 textbooks, as well as sources endorsed by Dr. Zona. This methodological flaw
 8   is one of several laid out below that require exclusion of this model.
 9           Second, the results of all of Dr. Zona’s models are driven by his unprincipled
10   manipulation of a key input—another classic ground for exclusion. See, e.g., In re
11   Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig., 524 F. Supp. 2d 1166,
12   1176 (N.D. Cal. 2007) (expert cannot “cherry-pick[]” inputs supporting his
13   conclusion). As noted above, each of Dr. Zona’s models predicts a lower price for
14   Sunday Ticket that forms the basis for Plaintiffs’ damages claims. One of the
15   essential inputs into these models is what is known as the marginal cost of Sunday
16   Ticket. That concept, and its importance, are defined further below. But the
17   important point is that Dr. Zona changes the marginal cost in each of his models
18   without justification, and the different cost numbers he chooses drive virtually all of
19   his conclusions. Such results-driven modeling is not reliable science.
20           For these reasons, as well as other more discrete challenges set forth below,
21   the Court should exclude Dr. Zona’s analysis.
22                                            BACKGROUND
23           The NFL Defendants’ Class Certification Opposition lays out the factual and
24   procedural background of this case. In this brief, we focus on the background issues
25   most relevant to understanding the flaws with Dr. Zona’s work.
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 1   I.         Dr. Zona’s Assignment.
 2              Plaintiffs asked Dr. Zona to create econometric models to assess injury and
 3   damages. These types of models are commonly deployed in antitrust cases in support
 4   of class certification. See, e.g., Rail Freight, 725 F.3d at 252–55.
 5              Dr. Zona’s first step was to review DirecTV data to determine the total number
 6   of class members, and the amount of money they spent on Sunday Ticket. Expert
 7   Report of J. Douglas Zona, Dkt. 633-3, ¶¶ 20–21 (“Zona Report”).
 8              Dr. Zona then created a series of economic models. Each is described further
 9   below, but there are some common threads worth noting. All of the models simulate
10
11                                                                            Id. ¶¶ 70–71, 82, 122–
12   24, 128.
13                                                 Id. Specifically, he divides the alternative
14   prices his models generate by the real-world price. See id. ¶¶ 20; Second Errata to
15   Zona Report, Dkt. 663-1. That percentage essentially reflects the discount a class
16   member would have received in each of Dr. Zona’s alternative worlds. To give a
17   simple example, if Dr. Zona’s model generates an alternative price of $100 for
18   Sunday Ticket, and the real-world price is $200, the percentage difference is 50%.
19   That is where Dr. Zona’s analysis ends.
20              Plaintiffs’ other economist, Dr. Rascher, takes these percentages and uses them
21   to generate an estimate of class-wide damages. All Dr. Rascher does is basic math:
22   He multiplies Dr. Zona’s percentages by Dr. Zona’s calculations of the amount of
23   money class members spent on Sunday Ticket. Expert Report of Daniel A. Rascher,
24   Dkt. 633-4, ¶¶ 9, 281–84 (“Rascher Report”). We address the problems with Dr.
25   Rascher’s work in a companion filing. See Memorandum in Support of the NFL
26   Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
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 1   II.     Dr. Zona’s Models.
 2           What follows is a brief description of the models Dr. Zona generated.1
 3           A. The Viewership and Transactional (“V&T”) Model.
 4           Dr. Zona’s first model simulates alternative prices for Sunday Ticket based on
 5   some of DirecTV’s viewership and transactional data. Zona Report ¶¶ 38–71. The
 6   model is quite complicated, but Dr. Yurukoglu lays out a detailed understanding of
 7   how it works. See Yurukoglu Report ¶¶ 16–17. Generally speaking, the model
 8   involves estimates by Dr. Zona of the following: (1) the value of NFL game telecasts;
 9   (2) the value of the Sunday Ticket package; (3) the value of the DirecTV service; and
10   (4) DirecTV’s marginal costs for Sunday Ticket and DirecTV service to consumers—
11   an economic term that describes the incremental costs DirecTV incurs in providing
12   Sunday Ticket and satellite service to one more subscriber. See Zona Report ¶¶ 38,
13   40–41, 50, 54–55, 65.
14           Each step of this analysis builds on its predecessors, such that if one step is
15   infirm, everything that follows is too. Yurukoglu Report ¶ 17. In conducting each
16
             1
              The simplified summary below obscures the extreme difficulties that the NFL
17   Defendants faced in attempting to understand and reconstruct Dr. Zona’s work. Dr.
18   Zona’s report offers only his topline conclusions and few of the results he generated
     along the way. Recognizing the importance of those intermediate steps, the parties
19   agreed to a protocol, later so-ordered by the Court, under which the party offering an
20   expert would have to produce, among other things, “a copy of any document
     reflecting the facts, data, and other information” upon which an expert relies,
21   including “but not limited to, underlying data, spreadsheets (including formulas
22   therein), computerized regression analysis and/or other underlying reports, programs,
     computer codes and schedules sufficient to reconstruct the work, calculations, and/or
23   analyses” within three days of serving the expert’s report. See Stipulated Expert
24   Protocol, Dkt. 289, at 2 (emphasis added). Plaintiffs did not comply. On August 24,
     2022, the deadline set by the stipulation, Plaintiffs produced a copy of Dr. Zona’s
25   backup files comprising 773MB of information. This production contained very little
26   of Dr. Zona’s work, as well as a code riddled with errors notionally designed to allow
     Dr. Zona’s work to be reproduced. After weeks of back-and-forth, Plaintiffs finally
27   produced the full suite of Dr. Zona’s backup files on September 29, 2022, comprising
28   68.7GB of data, as well as workable code. The NFL Defendants have reserved all
     rights to seek remedies for Plaintiffs’ violation of the expert protocol.
                                                 4
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  1   of these analyses,
  2                                                                                                Yurukoglu
  3   Report ¶ 95.
  4           The upshot of all these analyses was a predicted marginal cost for Sunday
  5   Ticket of                  Zona Report ¶ 65 n.48. Using that number as an essential input,
  6   Dr. Zona attempted to simulate the real-world prices and the number of subscriptions
  7   to Sunday Ticket in 2018. Zona Report at 38, Ex. 17. Because his model closely
  8   matched real-world outcomes in that year, Dr. Zona claims that his model makes
  9   valid and reliable predictions. See id. ¶¶ 41, 69; Kilaru Decl. Ex. 2 (Transcript of
 10   Deposition of J. Douglas Zona 129:4–15, 136:5–9) (“Zona Tr.”).
 11           Dr. Zona then simulated prices in three different scenarios: (1) where two
 12   distributors sell Sunday Ticket; (2) where four distributors sell Sunday Ticket; and
 13   (3) where two distributors sell Sunday Ticket and three clubs sell packages of just
 14   their games (the Dallas Cowboys, Pittsburgh Steelers, and New England Patriots).
 15   Zona Report ¶¶ 70–71. In performing these simulations, Dr. Zona curiously divided
 16   the marginal cost predicted by his model by              —a decision discussed in further
 17   detail below. See infra at 18–20. Ultimately, Dr. Zona’s model yielded
 18                                                 for the three scenarios above. Zona Report
 19   ¶¶ 70–71; see also id. at 39, Ex. 18.
 20           Dr. Rascher uses the first of these percentages to calculate damages in the
 21   “Non-Exclusivity But-For World,” described further in his report and the NFL
 22   Defendants’ concurrently filed opposition to class certification. Rascher Report
 23   ¶ 284; see NFL Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for
 24   Class Certification (“Class Certification Opposition”), at 9.
 25           B. The Conjoint Model.
 26           Dr. Zona next conducted a price simulation based on the results of the survey
 27   performed by Plaintiff’s survey expert, Sarah Butler. That survey assessed consumer
 28   preferences for hypothetical packages of out-of-market games. Zona Report ¶¶ 83–
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  1   124. The flaws in Ms. Butler’s survey are laid out in the expert report of Dr. Nancy
  2   Mathiowetz, as well as our Rule 702 motion to exclude the survey. See Kilaru Decl.
  3   Ex. 3 (Expert Report of Nancy A. Mathiowetz) (“Mathiowetz Report”);
  4   Memorandum in Support of the NFL Defendants’ Motion to Exclude the Opinions
  5   of Sarah Butler (“Butler Motion”).
  6           Four features of the survey are important to highlight here:
  7      • The survey                                                                    . See Butler
  8           Motion at 8.
  9      • The survey                                                                      . See Butler
 10           Motion at 9.
 11      • The survey was split into two “waves,”
 12                                                              See Butler Motion at 10–11;
 13           Zona Report ¶ 84.
 14      • The survey featured a significant volume of irrational results, see Butler
 15           Motion at 12–16; Zona Report ¶ 84.
 16   Dr. Zona did nothing to account for these issues. See Yurukoglu Report ¶ 72.
 17           In building this model, Dr. Zona used a quite different marginal cost—                         .
 18   Zona Report ¶ 117 n.65. Dr. Zona created this marginal cost by cherry-picking
 19   numbers out of a massive spreadsheet, see id. ¶ 117 n.65 (citing NFL_0537793),
                                                                                                             2
 20
 21   Zona Tr. 159:2–8, 17–160:3; see also Kilaru Decl. Ex. 4 (NFL_0537793).
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 26            When confronted with this document at his deposition, Dr. Zona had no
      recollection of this spreadsheet, much less how he derived the marginal cost of
 27           from it. Zona Tr. 157:13–21
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  1           This model generates a                                          Zona Report ¶ 122. Dr.
  2   Rascher also uses this percentage as part of his damages calculation for the Non-
  3   Exclusivity But-For World. Rascher Report ¶ 284.3
  4           C. The Basic Tier Model.
  5           Dr. Zona’s last model is not the product of econometric or statistical analysis.
  6   Instead,
  7
  8          Zona Report ¶ 73; Zona Tr. 23:23–26:8.
  9
 10                                         See id. at 25:11–26:3.
 11           In this model, Dr. Zona set out to simulate what DirecTV would do
 12                                                                  Zona Report ¶¶ 72–82. Dr. Zona
 13   claims that DirecTV would make just as much money by providing Sunday Ticket to
 14   all subscribers and increasing the cost of their satellite service. Id. ¶ 82. Based on
 15   some simple math (dividing the yearly Sunday Ticket rights fee by the number of
 16   DirecTV subscribers), and an assumption that the marginal cost of distributing
 17   Sunday Ticket is                 , Dr. Zona concluded that DirecTV
 18
 19   Id. ¶¶ 78–82. A key input to this model is Dr. Zona’s conclusion
 20
 21                               Id. ¶ 81. This model, if it can be called that,
 22                                Zona Report ¶ 82; Zona Tr. 80:21–81:11.
 23
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 25           3
                  Dr. Zona also produced a model based on results from an NFL-produced
 26
                               After both experts were deposed and the flaws underlying
 27   this model became clear, Dr. Rascher omitted this model from his damages
 28   calculation, which increased Plaintiffs’ claimed damages. See Clarification of and
      Addendum to Rascher Report, Dkt. 663-2, ¶¶ 8–9 (“Rascher Addendum”).
                                                        7
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  1              Dr. Rascher uses this reduction factor to calculate damages in the “Non-
  2   Pooling But-For World,” described further in his report and the NFL Defendants’
  3   class certification opposition.            Rascher Report ¶ 283; see Class Certification
  4   Opposition at 8–9.
  5                                            LEGAL STANDARD
  6              Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow
  7   Pharmaceuticals, Inc., 509 U.S. 579 (1993), a district court must “mak[e] a
  8   preliminary determination that [an] expert’s testimony is reliable” before admitting
  9   that testimony. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011).
 10   In the class certification context, “[t]he Ninth Circuit has approved of a rigorous
 11   application of [the Daubert standard]” and the Court “must consider . . . evidentiary
 12   objections to Plaintiffs’ experts” before “addressing the merits of the certification
 13   motion.” In re 5-Hour Energy Mktg. & Sales Pracs. Litig., 2017 WL 2559615, at *3
 14   (C.D. Cal. June 7, 2017) (Gutierrez, J.) (citing Ellis, 657 F.3d at 982).
 15              To be considered reliable under Rule 702, an expert must rely on sufficient
 16   facts or data, provide testimony based on reliable principles and methods, and reliably
 17   apply those principles and methods to the facts of the case. Fed. R. Evid. 702(b)–
 18   (d). “The party offering the expert bears the burden of establishing that Rule 702 is
 19   satisfied.” Sundance Image Tech., Inc. v. Cone Editions Press, Ltd., 2007 WL
 20   935703, at *3 (S.D. Cal. Mar. 7, 2007) (citing Allison v. McGhan Med. Corp., 184
 21   F.3d 1300, 1306 (11th Cir. 1999)). Where a party fails to establish that an expert’s
 22   proffered opinions satisfy these requirements, the court “must act as a ‘gatekeeper’
 23   to exclude” those opinions. Ellis, 657 F.3d at 982.
 24                                              ARGUMENT
 25   I.         The V&T Model Generates Absurd Results And Involves Elementary
 26              Errors.
 27              The V&T Model yields nonsensical results, involves textbook economic and
 28   statistical errors, rests on implausible assumptions, and uses data in unprincipled
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  1   ways. The model is not “grounded in the methods of science” and should be
  2   excluded. See Domingo ex rel. Domingo v. T.K., 289 F.3d 600, 605 (9th Cir. 2002).
  3           A. The V&T Model Reaches Fundamentally Irrational Conclusions
  4               About Consumer Behavior.
  5           The clearest sign that there are problems with the V&T Model—which
  6                                         that Dr. Rascher uses in calculating damages in the
  7   Non-Exclusivity But-For World, see Zona Report ¶ 70, Rascher Report ¶ 284—are
  8   the absurd predictions it makes about consumer preferences.
  9           A basic tenet of economics is that consumers behave rationally. See Dolphin
 10   Tours, Inc. v. Pacifico Creative Serv., Inc., 773 F.2d 1506, 1511 (9th Cir. 1985)
 11   (parties “must presume the existence of rational economic behavior in the
 12   hypothetical free market”); Murphy Tugboat Co. v. Crowley, 658 F.2d 1256, 1262
 13   (9th Cir. 1981) (“[E]conomic rationality must be assumed for all competitors, absent
 14   the strongest evidence of chronic irrationality.”). A model that suggests otherwise
 15   cannot be trusted.
 16           The opinion in Laumann is directly on point. Laumann was a similar antitrust
 17   case in which some of the same Plaintiffs’ attorneys here raised a sweeping challenge
 18   to the distribution of out-of-market games in professional hockey and baseball.
 19   Seeking class certification, the plaintiffs offered an economic model concluding that
 20   fans interested in watching one team’s games were most likely to purchase a package
 21   of many teams’ games, while fans interested in watching many teams’ games were
 22   more likely to purchase a single team’s games. 117 F. Supp. 3d at 310. The court
 23   found that these “results make[] no sense[] [because] the more teams a fan is
 24   interested in watching, the more likely he would be to buy a package of the telecasts
 25   of all teams instead of the telecasts of only one team.” Id. at 318. In light of these
 26   inexplicable predictions, the Laumann court excluded the model, id. at 314–16, and
 27   declined to certify the damages class, Laumann v. Nat’l Hockey League, 105 F. Supp.
 28   3d 384, 398–99 (S.D.N.Y. 2015).
                                                      9
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  1           The same result should follow here. A key input into the V&T Model is Dr.
  2   Zona’s simulation of consumer preferences for various packages of NFL games,
  3   including the games available on free broadcast television, the Sunday Ticket
  4   package as it currently exists, and three simulated single-team packages comprising
  5   all games played by the Dallas Cowboys, Pittsburgh Steelers, and New England
  6   Patriots. Zona Report ¶¶ 70–71. Dr. Zona uses those simulated preferences to
  7   simulate prices for those packages, and the simulated prices are in turn the linchpin
  8   of the price reductions he generates. See id.; Rascher Report ¶ 284 (using those price
  9   reductions to calculate class-wide damages).
 10           In assessing demand for these packages, Dr. Zona’s model illogically predicts
 11   that consumers want to pay more for less:
 12           •
 13
 14                                                                                Zona Tr. 172:12–16
 15
 16
 17                                                                  Yurukoglu Report ¶ 44.
 18           •
 19
 20                                    , see Zona Tr. 176:14–18
 21
 22
 23                                173:24–174:3
 24
 25
 26                                                               Yurukoglu Report ¶ 44.
 27           • Perhaps more outlandishly,
 28
                                                      10
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  1
  2                                             Zona Tr. 175:15–20
  3
  4
  5
  6                                                  Yurukoglu Report ¶ 45.
  7           These irrational predictions defy both common sense and economic principles
  8   and should be excluded under Rule 702.
  9           In fact, this case presents an even clearer case for exclusion than Laumann.
 10   There, the expert proffering the model offered an explanation for why the results
 11   were “economically sensible”; the court, however, concluded that the explanation
 12   was not supported by “real world data.” 117 F. Supp. 3d at 318. Here, by contrast,
 13   Dr. Zona has no plausible explanation.
 14
 15
 16                                                                     Zona Tr. 173:24–174:8.
 17   As in Laumann, Dr. Zona has no “real world data” supporting this view—just
 18   speculation. 117 F. Supp. 3d at 318; see also R.F.M.A.S., Inc. v. So, 748 F. Supp. 2d
 19   244, 248 (S.D.N.Y. 2010) (“Expert testimony that is merely ‘subjective belief or
 20   unsupported speculation’ should be excluded.” (quoting Daubert, 509 U.S. at 590)).
 21   But unlike in Laumann, this explanation does not make any economic sense. The
 22   model can be excluded on this ground alone.
 23           B. The V&T Model Suffers From The Fundamental Error Of Perfect
 24               Collinearity.
 25           Separate from these irrational results, the V&T Model contains an elementary
 26   methodological flaw—a separate ground for exclusion. See Bextra, 524 F. Supp. 2d
 27   at 1176 (rejecting opinions that are “not derived by the scientific method, and [are]
 28   not ‘good science’”). A little background helps illuminate the error.
                                                11
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  1           The V&T Model involves a series of regressions that inform a simulation of
  2   alternative prices for Sunday Ticket. See Yurukoglu Report ¶ 16. Regression
  3   analyses are commonly used by econometricians to isolate the effect of one or more
  4   explanatory variables on a dependent variable. See id. ¶ 23.
  5
  6
  7                 See id. ¶ 20.
  8           An early lesson in introductory econometric textbooks is that regression
  9   analyses do not work when two of the explanatory variables are perfectly “collinear,”
 10   meaning the two variables are perfectly correlated. Id. ¶ 20. Put another way, when
 11   two of the explanatory variables always move in the same proportion to each other,
 12   and one cannot increase without the other also increasing, a regression no longer
 13   yields valid results. See id. ¶¶ 20–21; Daniel L. Rubinfeld, Reference Guide on
 14   Multiple Regression, Reference Manual on Scientific Evidence 324 5 (3d ed. 2011);
 15   James H. Stock and Mark W. Watson, Introduction to Econometrics 226–30 (4th ed.
 16   2020). 4 Courts have similarly recognized this elementary principle: “[W]here
 17   knowing the value of one variable always predicts the value of the other variable, the
 18   variables are ‘perfectly collinear,’ which renders the regression incapable of
 19   separating out the independent effects of each variable.” Werdebaugh v. Blue
 20   Diamond Growers, 2014 WL 7148923, at *11 (N.D. Cal. Dec. 15, 2014) (cleaned
 21   up) (finding an expert’s damages model insufficient due to the regression’s
 22   “methodological failure” of including perfectly collinear variables).
 23           As Dr. Yurukoglu explains,
 24                                         Yurukoglu Report ¶¶ 19; see also id. ¶¶ 20–37.
 25
 26
 27
              4
 28          Dr. Rascher acknowledged this basic principle during his deposition as well.
      See Rascher Tr. 246:10–24.
                                                    12
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  1
  2
  3
  4                                                                                           Id. ¶ 22.
  5           In each regression, Dr. Zona uses a single measure of price for each year: the
  6   Sunday Ticket residential list prices in the Sunday Ticket model, and a price index
  7   composed of weighted DirecTV service list prices in the DirecTV model. Based on
  8   these choices, prices are perfectly correlated with the year fixed effect variable itself.
  9   In other words, knowing the year for a data point means that you automatically also
 10   know the price, and vice versa—as Dr. Zona admits. See Zona Report ¶ 52, n.44. As
 11   a result, Dr. Zona’s analyses suffer from perfect collinearity. This error makes it
 12   impossible to reliably measure the effect of price on the demand for the Sunday
 13   Ticket package or the DirecTV service respectively, and breaks his model.
 14           The failure of this model is easy to demonstrate. Just as the order of two
 15   numbers that are being added together should not impact the resulting sum (7 + 2 =
 16   2 + 7), textbooks teach that the order that explanatory variables (like price and year)
 17   are included in a regression should not matter. Gary Smith, Essential Statistics,
 18   Regression, and Econometrics, 302–03 (2011).
 19                         See Zona Tr. 111:5–8
 20
 21
 22
 23
 24                        See Yurukoglu Report ¶¶ 34, 37; id. at 27, Fig. 6; id. at 30, Fig. 7;
 25   Zona Tr. 114:22–115:12; 126:15–25.
 26
 27
 28   Yurukoglu Report ¶¶ 34, 37; Zona Tr. 110:14–17, 126:9–18, 254:23–25
                                                     13
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  1
  2
  3                                                                               Yurukoglu Report
  4   ¶¶ 34, 37; Zona Tr. 114:22–116:21, 127:15–25.
  5
  6                                                               Yurukoglu Report ¶¶ 34, 37;
  7   Zona Tr. 116:1–21. This result is completely at odds with Plaintiffs’ allegations and
  8   Dr. Zona’s modeling here, and is a product of collinearity.
  9           The price coefficients generated in both of these regressions are essential to
 10   the model as a whole, so these flaws undermine the model as a whole, rendering Dr.
 11   Zona’s price reduction calculations unreliable. See Werdebaugh, 2014 WL 7148923,
 12   at *11 (“The Court concludes that the perfect collinearity problem here renders the
 13   damages model insufficient . . . because Dr. Capps’ model is incapable of isolating
 14   the damages attributable to Defendant’s alleged wrongdoing[.]”). And because “it is
 15   critical that an expert’s analysis be reliable at every step,” the rest of the model
 16   relying on these improper regressions must be excluded as well. See Amorgianos v.
 17   Nat’l R.R. Passenger Corp., 303 F.3d 256, 267 (2d Cir. 2002); see also In re Paoli
 18   R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d Cir. 1994) (“[A]ny step that renders the
 19   analysis unreliable under the Daubert factors renders the expert’s testimony
 20   inadmissible.” (emphasis in original)).
 21           C. The V&T Model Improperly Assumes Away Important Distinctions
 22               Among Sunday Ticket Viewers.
 23           The V&T Model also rests on a series of implausible and unnecessary
 24   assumptions that ignore available “data . . . [that] could have enabled [the] model to
 25   predict more reliably” the bottom-line results. See Laumann, 117 F. Supp. 3d at 318;
 26   In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 981 (C.D. Cal. 2012)
 27   (excluding antitrust models that relied on implausible assumptions). Another key
 28   input in Dr. Zona’s model is
                                                 14
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  1
  2                                            Zona Tr. 86:13–21, 100:5–10; Zona Report ¶¶ 50–
  3   53, 59–61.                                                                                             . See
  4   Yurukoglu Report ¶ 52.                                                                                . See
  5   id. ¶¶ 51–52; Zona Tr. 84:16–19, 86:10–12.
  6
  7                                                              Yurukoglu Report ¶¶ 49–50; see
  8   Zona Tr. 221:9–18.
  9           At his deposition,
 10
 11
 12
 13
 14   Zona Tr. 215:22–25,
 15
 16                               id. at 218:21–219:8,
 17
 18
 19
 20                                                           Yurukoglu Report at 43, Fig. 12; see
 21   also id. ¶ 51; Zona Tr. 224:24–226:11.
 22                                   Yurukoglu Report ¶ 52.5 Such exclusion renders the analysis
 23   “hopelessly flawed.” Live Concert, 863 F. Supp. 2d at 981 (excluding expert opinion
 24   where data from a particular year was improperly excluded).
 25
              5
 26
                                                                         Zona Tr. 256:24–257:3.
 27
 28                                  Id. at 255:1–9; see also Yurukoglu Report ¶ 51.
                                                               Zona Tr. 255:10–256:2.
                                                         15
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  1           Similarly,
  2                                                   See Zona Tr. 219:13–15
  3
  4
  5
  6                                                          Id. at 219:23–220:2
  7
  8
  9
 10                                         Yurukoglu Report ¶ 48.
 11           These assumptions defeat the model’s reliability.
 12
 13                              Id. ¶¶ 49–50. These are the kind of unfounded and uncritical
 14   assumptions that courts often reject. See Laumann, 117 F. Supp. 3d at 315–16, Live
 15   Concert, 863 F. Supp. 2d at 988 (excluding damages model where an expert “looked
 16   for corroborating evidence” to support his assumption “without meaningfully testing
 17   th[e] assumption”); Guidroz-Brault v. Missouri Pac. R. Co., 254 F.3d 825, 830–32
 18   (9th Cir. 2001) (upholding district court’s exclusion of expert testimony that was not
 19   sufficiently supported by facts in the record).
 20           D. The V&T’s Treatment Of Residential Versus Commercial Data Is
 21               Incoherent.
 22           Last, the V&T Model should be rejected because it involves an unprincipled
 23   approach to data selection.
 24           Dr. Zona
 25
 26
 27                                                    , Zona Tr. 52:14–17,
 28
                                                        16
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  1                                 id. at 53:24–54:7, Kilaru Decl. Ex. 5 (Transcript of DirecTV
  2   30(b)(6) Deposition Witness Steven Priesand 51:10–19); Kilaru Decl. Ex. 6
  3   (DIRECTV-ST-01922432 at -437–46), as well as other factors, Yurukoglu Report
  4   ¶ 93.
  5
  6                                                  Id. ¶¶ 50–52; Kilaru Decl. Ex. 7 (Transcript
  7   of DirecTV 30(b)(6) Deposition Witness Jamie Dyckes 30:6–33:7) (“Dyckes
  8   30(b)(6) Tr.”).
  9
 10                                         See Kilaru Decl. Ex. 8 (Transcript of Deposition of
 11   Daniel A. Rascher 70:5–22; 72:9–73:4) (“Rascher Tr.”).
 12           Notwithstanding these differences,
 13                                                                                                   Zona Tr.
 14   84:11–19,
 15                                                  Yurukoglu Report ¶ 95; see also Yurukoglu
 16   Report at 74, Fig. 25.
 17                                                            Id. ¶ 95.
 18
 19
 20            Id. But ultimately, he and Dr. Rascher concluded that his price reduction is
 21   applicable to both residential and commercial consumers.                       Zona Report ¶ 30;
 22   Rascher Report ¶ 281; see also id. at 129, Ex. 14. This type of results-driven
 23   manipulation of data is inappropriate, and independently invalidates the model.
 24   Bextra, 524 F. Supp. 2d at 1176; In re Mirena Ius Levonorgestrel-Related Prod. Liab.
 25   Litig. (No. II), 341 F. Supp. 3d 213, 296 (S.D.N.Y. 2018) (excluding opinion of expert
 26   whose “cherry-picking approach is at odds with principles of sound science”).
 27
 28
                                                       17
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  1   II.     Dr. Zona Improperly Manipulates Marginal Cost Throughout His
  2           Models.
  3           One of the hallmarks of a reliable methodology is the even-handed treatment
  4   of relevant facts and inputs. In contrast, where an expert cherry-picks data to drive
  5   his hypothesis, the resulting opinion is unreliable and must be excluded. See In re
  6   Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litig. (No II) MDL
  7   2502, 892 F.3d 624, 634 (4th Cir. 2018); Bextra, 524 F. Supp. 2d at 1176.
  8           The marginal cost, or the price of supplying an additional unit of a product,
  9   should turn on the structure of the business itself; it should not change drastically
 10   from model to model. See Yurukoglu Report ¶ 53. But throughout Dr. Zona’s
 11   various models, he switches back and forth between several marginal cost inputs
 12   ranging from                          This approach is illogical—the unstated implication is that
 13   a single product can incur different marginal costs at a single point in time.
 14
 15                                                              . Id. ¶ 55. This treatment of marginal
 16   cost is a classic example of improper results-oriented cherry-picking. See Lipitor,
 17   892 F.3d at 634; Bextra, 524 F. Supp. 2d at 1176.
 18           Starting with the V&T Model, which is based on 2018 DirecTV viewership
 19   and residential list Sunday Ticket prices, Dr. Zona calculates a                                      marginal
 20   cost. Zona Report ¶ 65 n.48l; Yurukoglu Report ¶ 55.
 21                                                                    Id. ¶ 70. According to Dr. Zona,
 22   the accuracy of this simulation confirms the model’s validity. See Zona Report at
 23   38, Ex. 17; see also id. ¶ 41
 24
 25
 26                     .
 27           In calculating but-for world prices, however, Dr. Zona manipulates the key
 28   input of marginal cost. Rather than use                        as the marginal cost, he divides it
                                                            18
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  1   by           resulting in his second marginal cost figure of             . Zona Report ¶ 65 n.48;
  2   Yurukoglu Report ¶ 63. As Dr. Yurukoglu’s analysis shows,
  3                                                                            Id. If Dr. Zona had used
  4                 throughout, the reduction factors shown in Exhibit 18 of his report—
  5                                                              —drop to
  6   respectively. Id. at 45, Fig. 16.6
  7            Dr. Zona offered no plausible explanation for this shift, and none exists as a
  8   matter of basic economics. Yurukoglu Report ¶¶ 55–58.
  9
 10                                         Zona Tr. 140:19–141:3, 142:19–25.
 11
 12                                                                                                                  Id.
 13   at 25:18–26:8, 141:4–142:11.
 14
 15                                         id. at 24:11–25:1,
 16                   Dyckes 30(b)(6) Tr. 27:12–22, Kilaru Decl. Ex. 9 (Transcript of NFL
 17   30(b)(6) Deposition Witness Hans Schroeder 50:8–51:19) (“Schroeder 30(b)(6)
 18   Tr.”).       An antitrust damages model that contains “too many assumptions and
 19   simplifications that are not supported by real-world evidence,” must be excluded.
 20   Am. Booksellers Ass’n, Inc. v. Barnes & Noble, Inc., 135 F. Supp. 2d 1031, 1041
 21
               6
 22                The V&T Model also improperly assumes that
 23                                                                     Zona Tr. 183:6–
 24   9, 184:1–3. As Dr. Yurukoglu explains, that assumption is untenable.
 25                                                              Yurukoglu Report ¶ 61.
 26
                                                Id.
 27
 28
                                                          Id.; see Dyckes 30(b)(6) Tr. 34:8–20.
                                                        19
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  1   (N.D. Cal. 2001); see also Bakst v. Cmty. Mem’l Health Sys., Inc., 2011 WL
  2   13214315, at *20 (C.D. Cal. 2011) (excluding damages calculation that was “based
  3   on factual assumptions that are entirely unsupported in the record”); Wright v. United
  4   States, 2008 WL 820557, at *8 (D. Ariz. 2008) (excluding testimony that “provided
  5   no factual or scientific support” and “fail[ed] to address facts in the record contrary
  6   to her opinion”).
  7           Dr. Zona’s other suggestion—
  8                                         —is nonsensical. Dr. Zona states that the marginal cost
  9   should be reduced because
 10                                                     Zona Report ¶ 65 n.48.
 11
 12                                               . Zona Tr. 146:19–22, 148:19–22.
 13
 14
 15           The problems are not limited to the V&T Model. Dr. Zona uses a third
 16   different marginal cost—                  —in the Conjoint Model and Basic Tier Model. This
 17   far lower marginal cost figure comes from one Excel sheet contained in
 18                                                        Zona Report ¶ 117 n.64, n.65. Dr. Zona
 19   admitted he has zero context for this document: it was produced in this litigation
 20   without any accompanying emails, and no witness was ever asked about this sheet.
                                                                                              7
 21   See Schroeder 30(b)(6) Tr. 259:17–266:23
 22
 23
 24
 25           7
                  As Dr. Zona admitted,
 26
                                                      Zona Tr. 247:8–249:7, Yurukoglu Report ¶ 61
 27   n.80.
 28                                                               Zona Tr. 247:8–249:7; Yurukoglu
      Report ¶ 61 n.80.
                                                          20
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  1   Plucking a number out of a document with so many unknowns merits exclusion. See
  2   In re Lipitor, 892 F.3d at 634.8
  3           Dr. Zona’s expert report thus vacillates between four distinct marginal costs
  4   throughout his analysis:                                   There is no principled justification
  5   for these shifts, and the problem is not merely a technical one.9 Dr. Zona’s choice of
  6   marginal cost drives virtually all of the reduction factors he generates:
  7           •
  8
  9
 10                            Yurukoglu Report at 52, Fig. 17; Zona Report ¶¶ 41, 69; see also
 11                id. at 38, Ex. 17 (verifying his simulation using a marginal cost of $215).
 12           •
 13
 14                Yurukoglu Report at 49, Fig. 19.
 15           •
 16
 17                                            sometimes producing a positive reduction factor. Id.
 18                at 59, Fig. 21.
 19
 20
              8
              In the                                                                              he used yet a
 21   fourth marginal cost of               in his calculations. Zona Tr. 213:6–8
 22
                         Zona Report ¶ 127 n. 75.
 23           9
                  Dr. Zona also manipulates marginal cost in other ways.
 24
 25
 26
                         Zona Tr. 180:20–181:15.
 27
 28
                                                 . Zona Tr. 205:15–206:2.
                                                          21
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  1           This outcome-driven analysis requires exclusion under Daubert. See Rearden
  2   LLC v. Walt Disney Co., 2021 WL 6882227, at *7 (N.D. Cal. July 12, 2021) (rejecting
  3   expert testimony where expert “focus[ed] only on the data that supports the
  4   hypothesis and ignore[d] the data that undermines it”).
  5   III.    The Conjoint Model Uses Unreliable Inputs In An Unreliable Manner.
  6           Dr. Zona’s Conjoint Model, which generates the                                                  that
  7   Dr. Rascher uses in calculating damages in the Non-Exclusivity But-For World, see
  8   Rascher Addendum ¶ 10, should be excluded because it relies entirely on results from
  9   the survey conducted by Ms. Butler.
 10           Ms. Butler’s survey is the subject of a separate Rule 702 motion. Ms. Butler’s
 11   survey was not relevant or methodologically sound, and generated a whole host of
 12   irrational responses that cast serious doubt on its validity. See Butler Motion. If the
 13   survey is excluded, a model based on that survey must be excluded too.
 14           But Dr. Zona’s conjoint should be excluded even if Ms. Butler’s survey clears
 15   Rule 702. In addition to the methodological flaws in the conjoint analysis that Dr.
 16   Yurukoglu explains in more detail, see Yurukoglu Report ¶¶ 71–84, Dr. Zona’s
 17   model incorporates the fundamental problems with the survey:
 18           • Dr. Zona built a model predicting pricing and demand for Sunday Ticket
 19               from a
 20                                                        Butler Motion at 11–12.
 21           • Dr. Zona
 22
 23
 24
 25                                                        See id. at 14.
 26           • Dr. Zona                                                                  See id. at 12–16.
 27           • Dr. Zona
 28                                         See Mathiowetz Report ¶¶ 109, 138.
                                                      22
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  1           Expert evidence fails the “fit” test under Daubert if, as here, the “data relied
  2   upon by the expert is materially different from the data relevant to the facts of the
  3   case.” In re Omeprazole Patent Litig., 490 F. Supp. 2d 381, 401 (S.D.N.Y. 2007).
  4   That is particularly so given that the model
  5                                                              Zona Report ¶ 122 n.67
  6
  7   Rascher Addendum ¶ 10; Yurukoglu Report ¶ 74.
  8   IV.     Dr. Zona’s Basic Tier Model Is Incomplete And Speculative.
  9           To be properly admitted pursuant to a court’s gatekeeping responsibilities,
 10   expert opinion must be “derived by the scientific method” and reflect “the same level
 11   of intellectual rigor that characterizes the practice of an expert in the relevant field.”
 12   Rovid v. Graco Children’s Prod. Inc., 2018 WL 5906075, at *3 (N.D. Cal. Nov. 9,
 13   2018) (first quoting Daubert, 509 U.S. at 590, and then quoting Kumho Tire Co., Ltd.
 14   v. Carmichael, 526 U.S. 137, 152 (1999)). Where an expert opinion is devoid of
 15   sufficiently rigorous analysis, it must be excluded. See Live Concert, 863 F. Supp.
 16   2d at 973 (excluding antitrust models built more on assumptions than analysis). Dr.
 17   Zona’s Basic Tier Model, which yields
 18                Rascher Report ¶ 283, should be excluded under these principles.
 19           The Basic Tier model does not evince the necessary “intellectual rigor.” To
 20   start, the model is based on an implausible premise. Dr. Zona posits that
 21
 22                                              but offers no factual support to think this would
 23   ever happen.
 24                                  see Rascher Tr. 109:3–7, and
 25                                                           Cf. Kilaru Decl. Ex. 10 (Transcript
 26   of Deposition of Alex Kaplan 187:8–19). A model that rests on an implausible
 27   premise that is divorced from real-world facts must be excluded. See Brighton
 28   Collectibles, Inc. v. RK Exas Leather Mfg., 923 F. Supp. 2d 1245, 1255 (S.D. Cal.
                                                      23
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  1   2013) (excluding testimony where the “expert has not grounded his assumption with
  2   the real world facts of this case”).
  3           Further, this model fails to account for the basic economic premise that
  4   DirecTV would likely lose subscribers if it raised the price for its basic services,
  5   despite Dr. Zona’s statement elsewhere that many people would leave DirecTV in
  6   response to a small increase in price. Zona Report ¶¶ 122–24.
  7
  8                                                             See id. ¶ 81; Yurukoglu Report
  9   ¶¶ 66–67.
 10
 11                                                     Id. ¶ 68.
 12           Even if Dr. Zona were correct that a
 13                                                     , his pricing calculations remain
 14   problematic. All Dr. Zona concludes is that DirecTV would have to increase its
 15   service prices by                                       to recoup the lost revenue from
 16   terminating the subscription package.
 17
 18                                                              . Zona Tr. 80:17–81:11.
 19
 20                          Id. As Dr. Yurukoglu demonstrates,
 21
 22                                                        Yurukoglu Report ¶¶ 67–69. That
 23   outcome would leave class members much worse off. See Live Concert, 863 F. Supp.
 24   2d at 981 (C.D. Cal. 2012) (excluding expert opinion where the defendant’s expert
 25   demonstrated more likely outcomes absent shortcomings in the model).
 26           Finally, Dr. Zona’s model suggests DirecTV would have put Sunday Ticket
 27   on a basic tier, Zona Report ¶¶ 72–82, but DirecTV currently offers virtually no
 28   sports channels on its lowest-cost service tier and instead offers them on the higher-
                                                   24
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  1   priced Choice tier. See Kilaru Decl. Ex. 11 (DirecTV Pricing Guide); Kilaru Decl.
  2   Ex. 12 (DirecTV Channel Guide).
  3
  4
  5                                                                                              Zona Tr.
  6   195:3–15. But Dr. Zona has done nothing to analyze whether DirecTV would be
  7   better (or worse) off by choosing to follow its standard practice of offering sports
  8   channels on its Choice tier.
  9           In light of this wholesale failure to ground any of the assumptions underlying
 10   this model in real world facts or plausible analysis, this model should be excluded.
 11   See Brighton, 923 F. Supp. 2d at 1255.
 12                                         CONCLUSION
 13           For the foregoing reasons, Dr. Zona’s opinions should be excluded from the
 14   Court’s consideration of Plaintiffs’ motion for class certification.
 15
 16   Dated: November 4, 2022                 Respectfully submitted.
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